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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS


 JAMES WALKER                      §
                                   §
              Plaintiff,           §
                                   §
 v.                                §                          Civil Action: 3:24-cv-1491
                                   §
                                   §                          With Jury Demand Endorsed
 EQUIFAX INFORMATION SERVICES LLC, §
 EXPERIAN INFORMATION SOLUTIONS,   §
 Inc., TRANS UNION LLC, and        §
 NATIONSTAR MORTGAGE LLC,          §
                                   §
                                   §
                                   §
              Defendants.          §
                                   §

                                          COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

        Plaintiff, James Walker (“Plaintiff”), by and through counsel, for his Complaint against

Defendants, Equifax Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, and Nationstar Mortgage LLC, jointly, severally, and in solido, states as follows:

                                      I. INTRODUCTION

       1.      Three of the Defendants are consumer reporting agencies (“CRAs”) as defined by 15

U.S.C. § 1681a(f), and Defendant, Nationstar Mortgage LLC is a furnisher of consumer information.

All Defendants have violated 15 U.S.C. § 1681 et seq., known as the Fair Credit Reporting Act (the

“FCRA”). Plaintiff seeks to recover from Defendants actual, statutory, and punitive damages,

injunctive relief, legal fees, and expenses.

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                                         II. PARTIES

        2.      Plaintiff, James Walker, is a natural person residing in Caroline County, Virginia,

and is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and is a victim of repeated

false credit reporting.

        Made Defendants herein are:

        3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

        4.      Upon information and belief, Defendant Experian Information Solutions, Inc., which

may also hereinafter be referred to as “Experian”, “Defendant,” “Defendants,” “CRA,” or “CRA

Defendant,” or “CRA Defendants,” is an Ohio corporation that does business in this judicial district

and may be served by delivering a summons to its headquarters, 475 Anton Blvd., Costa Mesa,

California 92626. Experian is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Experian

regularly engages in the business of assembling, evaluating, and disbursing information concerning

consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to

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third parties. Experian disburses such consumer reports to third parties of contract for monetary

compensation.

       5.       Upon information and belief, Defendant Transunion LLC, which may also

hereinafter be referred to as “Trans Union”, “Defendant,” “Defendants,” “CRA,” “CRA Defendant,”

or “CRA Defendants” is an Illinois limited liability company that does business in this judicial

district and may be served by delivering a summons to its headquarters, 555 West Adams Street,

Chicago, Illinois 60681. Trans Union is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Trans

Union regularly engages in the business of assembling, evaluating, and disbursing information

concerning consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. §

1681a(f) to third parties. Transunion disburses such consumer reports to third parties of contract for

monetary compensation.

       6.       Upon information and belief, Defendant Nationstar Mortgage LLC or Mr. Cooper,

which may also hereinafter be referred to as “Nationstar,” “Defendant,” “Defendants,” “Furnisher

Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a

“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       7.       As used herein, “consumer reporting agency,” or “CRA,” means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in

the practice of assembling or evaluating consumer credit information or other information on


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consumers for the purpose of furnishing consumer reports (commonly referred to as “credit reports”)

to third parties, and which uses any means or facility of interstate commerce for the purpose of

preparing or furnishing consumer reports and is an entity in the business of collecting, maintaining

and disseminating information regarding the credit-worthiness of individuals. CRAs specifically

include, but are not limited to, Equifax, Experian, and TransUnion.

                              III. JURISDICTION AND VENUE

        8.      Plaintiff respectfully asserts that this Honorable Court has jurisdiction in this case

which arises under Federal Law. 28 U.S.C. § 1331, 1334, and 1367 and 15 U.S.C. § 1681(p).

Plaintiff also asserts actions under states' laws which may be brought within the supplemental

jurisdiction of this Court and Plaintiff respectfully requests that this Honorable Court exercise

supplemental jurisdiction over said claims. 28 U.S.C. § 1367.

        9.      Venue is proper in this District, because CRA Defendants and Nationstar transact

business in this District. Nationstar’s headquarters is located in this judicial district, a substantial

part of the conduct complained of occurred in this district, and various actions made basis of

Plaintiff’s claims against Defendants occurred in the Northern District of Texas as further described.

28 U.S.C. § 1391.

       10. Venue is further proper in this District, because CRA Defendants entered into agreements

with Nationstar in this judicial district to receive credit reporting data concerning Plaintiff. Any and

all requests to investigate Plaintiff’s dispute(s) sent from the CRA Defendants as part of their

reinvestigation was submitted to Nationstar’s headquarters and investigated by the furnisher

Nationstar using Nationstar’s resources located at or closely connected to this judicial district.


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Nationstar managed Plaintiff’s mortgage from this judicial district including communicating amounts

owed and conducting numerous communications via phone and letter.


                              IV. FACTUAL ALLEGATIONS


        11.    Upon information and belief, in or around January 5, 2010, Plaintiff secured a

mortgage for his property located at 12109 Ladysmith Rd. Woodford, VA 22580-2540.

        12.    Sometime thereafter, Nationstar Mortgage LLC acquired Plaintiff’s mortgage loan

and assigned loan number 60514x, hereinafter (“Nationstar mortgage account”).

        13.    On March 12, 2019, Plaintiff filed for a Chapter 13 bankruptcy. A redacted copy of

Plaintiff’s chapter 13 bankruptcy docket report is attached hereto as Exhibit “A”.

        14.    On September 27 2019, Plaintiff Chapter 13 payment plan was confirmed. See

Exhibit “A.”

        15.    On March 6, 2023, Plaintiff was discharged from his chapter 13 bankruptcy, A

redacted copy of Plaintiff’s Chapter 13 Bankruptcy Discharge Order is attached hereto as Exhibit

“B”.

        16.    Read in concert, Sections 1322(a)(2), 1322(b)(5), and 1328(a)(1) of the Bankruptcy

Code, bar discharging home mortgage debts in a Chapter 13 Bankruptcy.

        17.    On April 25, 2023, Carl Bates, Trustee for Plaintiff’s Chapter 13 Bankruptcy, filed

a Chapter 13 Standing Trustee’s Final Report and Account. A redacted copy of Plaintiff’s Chapter

13 Bankruptcy Trustee’s Final Report and Account is attached hereto as Exhibit “C”.

        18.    On or around May 5, 2023, Plaintiff’s Chapter 13 Bankruptcy was terminated. See

Exhibit “A.”

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           19.     Throughout Plaintiff’s Chapter 13 Bankruptcy, under direct or indirect order from

    the bankruptcy Trustee, timely monthly mortgage payments were made to the Nationstar mortgage

    account.

           20.     After discharge, Plaintiff continued to make timely mortgage payments to his

    Nationstar mortgage account until the mortgage was fully paid off in June 2023.

           21.     Sometime in July 2023, Plaintiff obtained his three-bureau credit report and noticed

    that the Equifax and Trans Union were reporting inaccurate information. A redacted copy of

    Plaintiff’s three-bureau credit report is attached hereto as Exhibit “D.”

           22.     The subject credit report reveals that Defendant Equifax and Defendant Trans Union

    both reported the Nationstar mortgage account without the correct update, and improperly provided

    an account rating of “Derogatory”,reported the payment status as “Wage Earner Plan”, and wrongly

    and that the account was included in the Chapter 13 Bankcruptcy all of which is inaccurate and in

    contravention of Consumer Data Industry Association guidelines. 1                  Plaintiff complied with the

    terms of the chapter 13 bankruptcy plan, was successfully discharged—excepted the secured

    Nationstar mortgage debt from being discharged, therefore, any remarks and/or references to and/or

    suppression information related to Plaintiff’s chapter 13 bankruptcy should have been removed from

    the Nationstar Mortgage tradelines after the Bankruptcy was discharged. 2

           23.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account



1
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct consumer reporting
agencies to have suppression codes associated with bankruptcy reporting accounts after the petition is filed, so that the
ongoing payments history for the consumer’s will not be reported.
2
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct consumer reporting
agencies to remove any suppression codes associated with bankruptcy reporting for an account once the chapter 13
bankruptcy is discharged so that ongoing payments made by the consumer can be reported.
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when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

update the reporting of an account when the borrower associated to the account is discharged from

chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

which are well regarded as the industry standards, it prevents the reporting of any late payment

history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

followed by both furnishers and CRAs.

       24.      In or around July 2023, Plaintiff sent direct disputes to Equifax Trans Union, and

Nationstar and requested that the Defendants investigate the reporting of the Nationstar mortgage

account. Plaintiff requested that under the FCRA, each CRA Defendant conduct a reasonable

investigation and/or remedy the inaccuracies on Plaintiff’s credit reports concerning the Nationstar

mortgage account. Within these dispute letters, Plaintiff described in great detail the issues and the

misreporting following his bankruptcy and enclosed copies of either his bankruptcy docket report,

trustee final report, and/or discharge order. Redacted copies of Plaintiff’s unsigned dispute letters

sent to Equifax, Trans Union and Nationstar, are attached hereto as Exhibits “E,” “F” and “G”

respectively.

       25.      On August 24, 2023, Defendant Equifax responded that “ADDITIONAL

INFORMATION HAS BEEN PROVIDED FROM THE ORIGINAL SOURCE REGARDING

THIS ITEM. THIS CREDITOR HAS VERIFIED TO OUR COMPANY THAT THE CURRENT

STATUS IS BEING REPORTTED CORRECTLY.” A redacted copy of Equifax’s Response to

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Plaintiff’s dispute is attached hereto as Exhibit “H.”

       26.     Plaintiff then obtained an updated copy of his three-bureau credit report on October

6, 2023, which revealed that Equifax had not corrected any of the inaccuracies from the July 2023

report. A true and correct copy of the updated credit report is attached hereto as Exhibit “I.”

       27.     Equifax’s responses, or lack thereof, were not the result of a reasonable investigation

into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Nationstar tradeline and

gave no explanation as to why it failed to sufficiently update the Nationstar Mortgage tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, sold the property, satisfied the loan, and was successfully discharged.

       28.     Equifax’s responses were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the Nationstar Mortgage tradelines. Plaintiff

sent very clear disputes, and though Equifax made some changes, the revisions still revealed

inaccurate information.

       29.     Plaintiff sent a very clear dispute, and yet Equifax failed to make all needed changes

to the disputed information, bankruptcy status, and/or account status.

       30.     Equifax chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       31.     Upon the Plaintiff’s request to Equifax for verification and addition regarding the

Nationstar mortgage account, and in accordance with Equifax’s standard procedures, Equifax did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Further, Equifax did not

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    make any attempt to substantially or reasonably verify the Nationstar Mortgage account.

           32.     In the alternative, and in accordance with Equifax’s standard procedures, Equifax

    failed to contact Nationstar, therefore, failed to perform any investigation at all.

           33.     In the alternative to the allegation that Equifax failed to contact Nationstar, it is

    alleged that Equifax did forward some notice of the dispute to Nationstar, and Nationstar failed to

    conduct a lawful investigation.

           34.     In reviewing his October 6, 2023, three-bureau credit report, Plaintiff noticed that

    Experian was also now reporting inaccurate information. See Exhibit “I.”

           35.     The October 6, 2023 credit report reveals that Defendant Experian now reported the

    Nationstar mortgage account without the correct update, and improperly provided an account rating

    of “Derogatory”, reported the payment status as “Wage Earner Plan”, and wrongly stated that the

    account was included in or discharged through the Chapter 13 Bankruptcy all of which is inaccurate

    and in contravention of Consumer Data Industry Association guidelines. 3 Plaintiff complied with

    the terms of the chapter 13 bankruptcy plan, was successfully discharged—excepted the secured

    Nationstar mortgage debt from being discharged, therefore, any remarks and/or references to and/or

    suppression information related to Plaintiff’s chapter 13 bankruptcy should have been removed from

    the Nationstar Mortgage tradelines after the Bankruptcy was discharged. 4

           36.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account



3
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct consumer reporting
agencies to have suppression codes associated with bankruptcy reporting accounts after the petition is filed, so that the
ongoing payments history for the consumer’s will not be reported.
4
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct consumer reporting
agencies to remove any suppression codes associated with bankruptcy reporting for an account once the chapter 13
bankruptcy is discharged so that ongoing payments made by the consumer can be reported.
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when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

update the reporting of an account when the borrower associated to the account is discharged from

chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

which are well regarded as the industry standards, it prevents the reporting of any late payment

history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

followed by both furnishers and CRAs.

       37.     In or around October 2023, Plaintiff sent a direct dispute to Experian and requested

that the Defendant investigate the reporting of the Nationstar mortgage account. Plaintiff requested

that under the FCRA, Experian conduct a reasonable investigation and/or remedy the inaccuracies

on Plaintiff’s credit reports concerning the Nationstar mortgage account. Within the dispute letter,

Plaintiff described in great detail the issues and the misreporting following his bankruptcy and

enclosed copies of either his bankruptcy docket report, trustee final report, and/or discharge order.

A redacted copies of Plaintiff’s unsigned dispute letter sent to Experian is attached hereto as Exhibit

“J.”

       38.     Experian received Plaintiff’s October 2023 dispute on October 30, 2023. A redacted

copy of the proof of delivery and certified mail receipt for Plaintiff’s October 2023 Experian Dispute

Letter is attached hereto as Exhibit “K”.

       39.     Upon information and belief, Experian failed to respond to Plaintiff’s October 2023

dispute.

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       40.     Plaintiff then obtained an updated copy of his Three-bureau credit report on January

2, 2024, which revealed that Experian continued to report the same inaccuracies. A redacted copy

of Plaintiff’s January 2, 2024, three-bureau credit report is attached hereto as Exhibit “L”.

       41.     Experian’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Nationstar

tradeline and gave no explanation as to why it failed to sufficiently update the Nationstar Mortgage

tradeline when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter

13 bankruptcy plan, sold the property, satisfied the loan, and was successfully discharged.

       42.     Experian’s responses were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the Nationstar Mortgage tradelines. Plaintiff

sent very clear disputes, and though Experian made some changes, the revisions still revealed

inaccurate information.

       43.     Plaintiff sent a very clear dispute, and yet Experian failed to make all needed changes

to the disputed information, bankruptcy status, and/or account status.

       44.     Experian chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       45.     Upon the Plaintiff’s request to Experian for verification and addition regarding the

Nationstar mortgage account, and in accordance with Experian’s standard procedures, Experian did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Further, Experian did

not make any attempt to substantially or reasonably verify the Nationstar Mortgage account.

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       46.     In the alternative, and in accordance with Experian’s standard procedures, Experian

failed to contact Nationstar, therefore, failed to perform any investigation at all.

       47.     In the alternative to the allegation that Experian failed to contact Nationstar, it is

alleged that Experian did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

       48.     On August 26, 2023, Defendant Trans Union responded “[w]e investigated the

information you disputed and updated: Last Payment Made; Remarks; Rating” but stated that

“Account Included in Bankruptcy” as the “pay status.” A redacted copy of Trans Union’s Response

to Plaintiff’s dispute is attached hereto as Exhibit “M.”

       49.     Trans Union’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Nationstar

tradeline and gave no explanation as to why it failed to sufficiently update the Nationstar Mortgage

tradeline when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter

13 bankruptcy plan, sold the property, satisfied the loan, and was successfully discharged.

       50.     Trans Union’s responses were not the result of reasonable investigations into

Plaintiff’s dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims,

or evidence and failed to remedy the inaccuracies within the Nationstar Mortgage tradelines.

Plaintiff sent very clear disputes, and though Trans Union made some changes, the revisions still

revealed inaccurate information.

       51.     Plaintiff sent a very clear dispute, and yet Trans Union failed to make all needed

changes to the disputed information, bankruptcy status, and/or account status.

       52.     Trans Union chose to “verify” false information from an unreliable source, failed to

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correct the inaccurate information, and continued to publish the inaccurate information regarding

Plaintiff’s Nationstar account.

       53.     Upon the Plaintiff’s request to Trans Union for verification and addition regarding

the Nationstar mortgage account, and in accordance with Trans Union’s standard procedures, Trans

Union did not evaluate or consider any of Plaintiff’s information, claims or evidence. Further, Trans

Union did not make any attempt to substantially or reasonably verify the Nationstar Mortgage

account.

       54.     In the alternative, and in accordance with Trans Union’s standard procedures, Trans

Union failed to contact Nationstar, therefore, failed to perform any investigation at all.

       55.     In the alternative to the allegation that Trans Union failed to contact Nationstar, it is

alleged that Trans Union did forward some notice of the dispute to Nationstar, and Nationstar failed

to conduct a lawful investigation.

       56.     On August 11, 2023, Defendant Nationstar responded “[w]e responded to Equifax

on 08/10/2023, and they will be providing you with a final resolution notice regarding this inquiry.”

A redacted copy of Nationstar’s response is attached hereto as Exhibit “N.”



                                  V. GROUNDS FOR RELIEF

                    COUNT I – EQUIFAX’S VIOLATION OF THE FCRA
                                 (15 U.S.C. § 1681e(b))

       57.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       58.     Equifax violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit


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files it published and maintained concerning the Plaintiff.

       59.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       60.     Plaintiff furnished Equifax the necessary documentation supporting Plaintiff’s

tradeline, yet Equifax continued to prepare a patently false consumer report concerning Plaintiff.

       61.     Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Equifax readily provided false reports to one or more third parties, thereby misrepresenting

Plaintiff, and ultimately Plaintiff’s creditworthiness.

       62.     After Equifax knew or should have known Plaintiff’s account status in relation to her

bankruptcy was inaccurate, they failed to make the corrections.

       63.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, denial in attempts to refinance, loss in ability to finance goods, loss of

credit, loss of the ability to purchase and benefit from a credit, and suffering the mental and

emotional pain, anguish, humiliation, and embarrassment of credit denials.

       64.     Equifax's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

       65.     The Plaintiff is entitled to recover costs and attorney’s fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

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                    COUNT II – EQUIFAX’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681i)

        66.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       67.      Equifax violated § 1681i by failing to update inaccurate information in the Plaintiff’s

credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

        68.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to, loss in ability to finance goods, loss of credit, loss of the ability to

purchase and benefit from a worthy credit history, and suffering the mental and emotional pain,

anguish, humiliation, and embarrassment of credit denials.

        69.     Equifax's conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        70.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                     COUNT III – EXPERIAN’S VIOLATION OF THE FCRA
                                    (15 U.S.C. § 1681e(b))

        71.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        72.     Experian violated 15 U.S.C. § 168le(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

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files it published and maintained concerning the Plaintiff.

       73.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       74.     Plaintiff furnished Experian the necessary documentation supporting Plaintiff’s

tradeline, yet Experian continued to prepare a patently false consumer report concerning Plaintiff.

       75.     Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Experian readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

       76.     After Experian knew or should have known Plaintiff’s account status in relation to

his bankruptcy was inaccurate, they failed to make the corrections.

       77.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

       78.     Experian's conduct, action, and inaction, were willful, rendering it liable to Plaintiff

for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In

the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff to recover

under 15 U.S.C. § 1681o.

       79.     The Plaintiff is entitled to recover costs and attorney’s fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

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                     COUNT IV – EXPERIAN’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681i)

       80.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       81.     Experian violated §1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies; failing to conduct a lawful

reinvestigation; failing to forward all relevant information to furnisher(s); and failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

       82.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       83.     Experian's conduct, action, and inaction, were willful, rendering it liable for actual

or statutory damages, and punitive damages in an amount to be determined by the Court pursuant

to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling

the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       84.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                     COUNT V – TRANS UNION’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681e(b))

       85.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       86.     Trans Union violated 15 U.S.C. § 168le(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit reports

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and credit files it published and maintained concerning the Plaintiff.

        87.    The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        88.    Plaintiff furnished Trans Union the necessary documentation supporting Plaintiff’s

tradeline. Yet Trans Union continued to prepare a patently false consumer report concerning

Plaintiff.

        89.    Despite actual and implied knowledge that Plaintiff’s credit reports were and are not

accurate, Trans Union readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

        90.    After Trans Union knew or should have known Plaintiff’s account status in relation

to his bankruptcy was inaccurate, they failed to make the corrections.

        91.    As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, denial in attempts to refinance, loss in ability to finance

goods, loss of credit, loss of the ability to purchase and benefit from a credit, and suffering the

mental and emotional pain, anguish, humiliation, and embarrassment of credit denials.

        92.    Trans Union's conduct, action, and inaction, were willful, rendering it liable to

Plaintiff for punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. §

168ln. In the alternative, such conduct, action, and inaction, were negligent, entitling the Plaintiff

to recover under 15 U.S.C. § 1681o.

        93.    The Plaintiff is entitled to recover costs and attorney’s fees from Trans Union in an

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amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                  COUNT VI – TRANS UNION’S VIOLATION OF THE FCRA
                                   (15 U.S.C. §1681i)

       94.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       95.     Trans Union violated § 1681i by failing to update inaccurate information in the

Plaintiff’s credit files after receiving actual notice of such inaccuracies, failing to conduct a lawful

reinvestigation, failing to forward all relevant information to furnisher(s), failing to maintain

reasonable procedures with which to filter and verify disputed information in the Plaintiff’s credit

files, and relying upon verification from a source it has reason to know is unreliable.

       96.     As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       97.     Trans Union's conduct, action, and inaction, were willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent

entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

       98.     The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                     COUNT VII – NATIONSTAR’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681s-2(b))


       99.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       100.    Defendant Nationstar violated 15 U.S.C. § 1681s-2(b) by failing to conduct
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reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

       101.    Nationstar further violated 15 U.S.C. § 1681s-2(b) by continuing to report the

Nationstar representation within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the

Plaintiff’s dispute(s) of the Nationstar representation, failing to accurately respond to the CRA

Defendants, failing to correctly report results of an accurate investigation to every other consumer

reporting agency, and failing to permanently and lawfully correct its own internal records to prevent

the re-reporting of the Nationstar representations to the consumer reporting agencies.

       102.    As a result of Nationstar’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to, loss in ability to finance goods, loss of credit, loss of the

ability to purchase and benefit from a credit, and suffering the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials.

       103.    Nationstar’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory, and punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C.

§ 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages under

15 U.S.C. § 1681o.

                VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

       104.    Plaintiff will be able to show, after reasonable discovery, that all actions at issue

were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

principals, within the line and scope of such individuals' (or entities’) express or implied authority,

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through employment, agency, or representation, which imputes liability to Defendants for all such

actions under the doctrine of respondeat superior and/or vicarious liability.

                                         VII. DAMAGES

         105.   Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

of facts, that in addition to actual or compensatory damages, punitive or exemplary damages may

be awarded against the Defendants under the provisions of the FCRA and/or states' laws, including

Texas.

         106.   Plaintiff respectfully requests that this Honorable Court award Plaintiff her litigation

expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

accordance with the provisions of the FCRA, and/or other applicable laws.

         107.   The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.

         108.   Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reporting about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

         109.   Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

         110.   Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

         111.   Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

damages awarded in this case, as well as other demands and claims asserted herein including, but

not limited to, out-of-pocket expenses, credit denials, costs and time of repairing their credit, pain

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 and suffering, embarrassment, inconvenience, lost economic opportunity, loss of incidental time,

 frustration, emotional distress, mental anguish, fear of personal and financial safety and security,

 attorney’s fees, and court costs, and other assessments proper by law and any and all other applicable

 federal and state laws, together with legal interest thereon from date of judicial demand until paid.

        WHEREFORE PREMESIS CONSIDERED, Plaintiff, James Walker, prays that this

Honorable Court:

         A.     Enter Judgment in favor of Plaintiff and against Defendants Equifax Information

Services LLC, Experian Information Solutions, Inc., Trans Union LLC, and Nationstar Mortgage

LLC, jointly, severally, and in solido, for all reasonable damages sustained by Plaintiff, including, but

not limited to, actual damages, compensatory damages, out-of-pocket expenses, credit denials, costs

and time of repairing their credit, pain and suffering, embarrassment, inconvenience, lost economic

opportunity, loss of incidental time, frustration, emotional distress, mental anguish, and fear of

personal and financial safety and security for Defendants’ violations of the FCRA, applicable state

law, and common law;

         B.     Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff.

         C.     Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.     Order that the CRA Defendants, Equifax Information Services LLC, Experian

Information Solutions, Inc., and Trans Union LLC, and Furnisher Defendant, Nationstar Mortgage

LLC, work in conjunction, cooperatively, and/or individually to reinvestigate and correct the consumer

report(s), credit report(s), data emanations, consumer histories, and credit histories of and concerning

Plaintiff and/or any of Plaintiff’s personal identifiers.
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         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show he

is justly entitled.



Date Filed: June 17, 2024


                                                 Respectfully submitted,

                                                 /s/ Matthew P. Forsberg
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                                                 COUNSEL FOR PLAINTIFF




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                                         JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.

                                               /s/ Matthew P. Forsberg
Date: June 17, 2024                            Matthew P. Forsberg




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